4:06-cr-03102-RGK-DLP       Doc # 76   Filed: 03/19/07   Page 1 of 2 - Page ID # 241




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )         4:06CR3102
                                          )
                   Plaintiff,             )         MEMORANDUM
      vs.                                 )         AND ORDER
                                          )
ANDRANETTE FOSTER and                     )
LATHON WIDER,                             )
                                          )
                   Defendant.             )


       This matter is before the court on a report and recommendation by Magistrate
Judge Piester (filing 70), recommending denial of Defendants’ motions to suppress
(filings 38, 43), and on Defendants’ statements of objections (filings 71, 73), filed
pursuant to NECrimR 57.3 and 28 U.S.C. § 636(b)(1).

       I have conducted a de novo review of the record. I find that inasmuch as the
Magistrate Judge has fully, carefully, and correctly found the facts and applied the
law, the report and recommendation should be adopted and Defendants’ statements
of objections and motions to suppress should be denied in all respects.

      Accordingly,

      IT IS ORDERED that:

      1.     the Magistrate Judge’s report and recommendation (filing 70) is
             adopted;

      2.     Defendants’ objections (filings 71, 73) are denied; and
4:06-cr-03102-RGK-DLP   Doc # 76   Filed: 03/19/07   Page 2 of 2 - Page ID # 242



    3.    Defendants’ motions to suppress (filings 38, 43) are denied in all
          respects.


    March 19, 2007.                       BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge




                                    -2-
